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  EXHIBIT 7
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I·                                          Niscell aneous Contra cts Concer ning Captain Americ a

                                                                 Licens or                                                                               Licens ee


                l                           Comple te . Photo Story                                                               Jqhn R. Franch ey

                2                           Krantz Films, Inc.                                                     'I
                                                                                                                 •'I         .Hears t Broad casting
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                                                                                                                                  Metrom edia
                                                                                                                        ·'' ·mrn- Genera l, Inc. - WOR, WNAC,
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               4                                    II                      II
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                                                                                                                                  KHJ, WHBQ
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               5                            Timely Comics and                                                                     Republ ic Produ~ ts, Inc.
                                            Comp lete Photo
                                            Krantz Films, Inc.                                                                    Screen Gems of Louisia na, Inc.
                                                                                                                  :/    •'           ,,
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                                                                                                                 ·l
                                                                                                                   I              Screen Gems of Utah, Inc.
               8                            Magaz ine Managem ent                                                                 Super Hero Produc tions, Inc.
                                                                        I

                                                                                                                                                            II            II
                                            Krantz Films, Inc.
                                                                                                                                          II       II
                9
                                                                                                                                  WAPA, San Juan, Puerto Rico
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                10                                  II




                ll
                                                    II                       II                    -11
                                                                                                                                  Wester n Ontario Broadc asting Co.,Lt d.

                12                           Magazin e Management                                                                 Wester n Pr-intin g & Lithog raphing Co.

                13                           Krantz Films, Inc.                                                                   Westin ghouse

                14                           Magazi ne Managem ent          We ston Mercha ndising Corp.
                                               (Agr eement of Mar. ·29, 1965 and
                                                                                                                  1




                                               supplem ent of Mar. ;·25 , 1966)
                15                           Krantz Films, In·c.                                                             , ·WGN,
                                                                                                                             ,I .
                                                                                                                                     Chicago
                                                                                                                                  :WGN, Denver
                                                                                                   . II
                16                                   II .,                    II




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           Si mon v. Goodman, et al

                                                         SCHEDULE 3-B

                                   Contract s with Krantz Films, Inc. on
                                 Standard Form Concern ing Captain America

                  The s e contrac ts are based on the standard Krantz Films, Inc.
           license form . We are inf ormed by Migdal, Low, Tenney and Glass,
           598 Ma.dison Avenue, New York, New York, attorney s for Krantz   1



           Fi l ms , Inc., that a copy of each if produced would be substan ti-
           ally the same as the copy produced herewith of the License Agree-
           ment ·with \\-11{EC~TV .          j       ./.)

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                                                                       -~ .
           No .                    Li censor                           1·                                       Licensee                    Dat e
                                                                       I'
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                                                                       i           '
           1            Krantz Films, Inc. '                           ; Capital Cities - WK.BW,                                       4/15/66 ,
                                                                       . Buffalo

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                                          JI ,    ti
                                                          I            i. Capital               Ci ties               WPRO,            4/15/66
                                                                                Providen ce

           3
                        '   II            ti      It          '
                                                                       : Capital Cities - WTEN,
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                                                                                                                                       4/15/66
                                                                         Albany
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           4                It      ,,.   ti      It
                                                                                Capital Cities    WSAZ, .                              4/15/66
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               6            ll            ti     . ti
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                                                                       : Hampd en-Hamp,s hire Corp.
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               7
                            ll            II      ll
                                                                                Meridith . Syracuse TV                                 4/28/66
               8            II            ti       ti
                                                                                Pulitze r .Publish ing Co.                              5/5/66
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                                                                  ·: WHEC-TV                          ··                               4/26/66
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                                                             'SCHEDULE 3-C

                                    Contracts with Magazine Management on
                                    Standard Form Concerning Captain America

               No .                 Licensor                                                              Licensee

               1          Magazine Management '                                 A.A. Records, Inc.
                                                '          ''Ii
                                                                                Allison Manufactu ring Co., Inc.
                                             II
                              II
               2                                           ;I

                              It             It
                                                            i                   Aurora Plastics Corp.
                                                           l.
               4              fl             II              i
                                                                                Benay Albee Novelty Co.

               5
                              II
                                                                                Ben Cooper, Inc.
               6              II             It
                                                                                "Milton Bradley Co.
                                                       •    1



               7
                              II
                                                                                Bradley Time Corp.
    /

               8              II             II
                                                                                Button-Wo rld Mfg. Co.

               9
                              11
                                                                                Creative House Promotion s, Inc.

               10             II
                                                                                Dell Plastics, Inc.

               11
                             ' It            11
                                                                                The Donrus Co.

               12
                               II            II
                                                                                Ed-U-Card s Mfg. Co.

               13              fl            fl
                                                                                Folz Vending Corp.

               14              11           . II
                                                                                 Ideal Toy Corp. (Dolls)

               15              11             II
                                                                                 Ideal Toy Corp. (Hand Puppets)
                                                            r     i   ·'




                               It             II
                                                                                 Kenner Products Corp.
                                                       ':!
               17              11             11
                                                            '                   Macman Enterprise s Corp.
               18              II             11
                                                                                 Mailing and Printing Service

               19              II             fl
                                                                                 Norwich Mills, Inc.
               20              11             rr
                                                                                 Philadelp hia Chewing Gum
               21              fl             II
                                                                                 Synthetic Plastics Co.
                                                           : '
               22
                               II           . II
                                                                                 Tr.a n~ogram Co. , Inc.



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